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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF OKLAHOMA


    STATE FARM FIRE AND CASUALTY
    COMPANY,

            Plaintiff,

    v.                                               Case No. CIV-17-164-RAW

    CAMERON RAY, and
    JENNIFER RAY,

            Defendants.

                                               ORDER 1

           Before the court are Cameron Ray’s motion for summary judgment [Docket No. 133],

State Farm’s motion to reconsider this court’s March 27, 2019 Order denying its motion for

summary judgment [Docket No. 142], and State Farm’s request for judicial notice of order

denying Cameron Ray’s petition for writ of certiorari relating to his criminal conviction [Docket

No. 190]. 2

           At the outset, the court notes that Cameron was convicted of assault and battery with a

deadly weapon in violation of 21 OKLA. STAT. § 652(C) in a criminal state court action. He was

found negligent 3 in an underlying state tort action (the “Underlying Action”) for the same

conduct. Cameron argues that the outcome of the Underlying Action is determinative of this



1
  For clarity and consistency herein, when the court cites to the record, it uses the pagination
assigned by CM/ECF.
2
  Defendants filed objections to both of State Farm’s motions [Docket Nos. 153, 164, 191 and
193]. Defendants did not file substantive responses to State Farm’s motions, instead requesting
extensions of time to respond if the court overrules their objections. As responses are not
necessary here, the requests for extensions of time to respond are denied.
3
  The jury found that Cameron was negligent, grossly negligent and acted in reckless disregard
for the rights of others.
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case, while the criminal proceedings have no bearing. State Farm argues that the outcome of the

criminal action is determinative here, while the Underlying Action has no bearing.

       The court first considers State Farm’s motion for reconsideration and the Defendants’

objections. State Farm files its motion to correct errors of law. Specifically, State Farm

correctly argues that fundamental issues of law concerning the meaning of the terms of an

insurance policy are not determined by the outcome of an underlying lawsuit to determine

liability pursuant to state tort law. See State Farm and Cas. Co. v. Wade, No. 12-CV-0148-CVE-

PJC, 2012 WL 2524859 at *3 (N.D. Okla. June 29, 2012). “The meaning of policy terms and the

requirements of proving tort liability ‘are not parallel and involve completely different legal

issues.’” Id.

       State Farm argues that the following portion of this court’s March 27, 2019 Order is

contrary to that law:

       The question of whether Cameron intentionally shot Jennifer was squarely before the
       state court in the Underlying Action, as evidenced by Cameron’s counsel’s closing
       argument. This court need not again determine that factual issue. If the jury’s verdict in
       the Underlying Action finding that Cameron was negligent is upheld on appeal, the
       shooting was an “accident” or “occurrence” under the Policy.

Docket No. 137, p. 4.

       It is not. The law cited by State Farm refers to circumstances where the sole issue is

interpretation of policy terms. Of course, courts may and routinely do consider the factual

findings of an underlying civil action in determining whether a policy provides coverage. 4 The

court included this language in its March 27, 2019 Order while focusing on counsel’s closing




4
 See Broom v. Wilson Paving & Excavating, Inc., 356 P.3d 617, 629 (Okla. 2015) (“Because
negligence was the basis of Broom’s recovery against Wilson Paving in the district court, such
must be considered in deciding whether the expected or intended injury clause in Mid-
Continent’s policy precludes coverage for Broom’s injuries in this case.”)
                                                 2
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arguments in the Underlying Action regarding the terms “intentional” and “accidental” or

“negligent” conduct. In its reconsideration, however, the court finds that language inappropriate

because despite counsel’s closing arguments, it is not clear that the exact issues present here

were squarely before the jury in the Underlying Action. To that extent, State Farm’s motion to

reconsider is granted and the above language is stricken from the court’s March 27, 2019 Order.

       Nevertheless, as the court stated in its March 27, 2019 Order, Cameron shot his gun

“either immediately after entering the residence or after a male guest there came towards him,

possibly with a weapon and possibly attacking him.” Docket No. 137, p. 2-3. There is evidence

that Cameron regularly carried a gun, and while not overwhelming, there is also evidence that he

did not enter the house firing, but was instead attacked and a struggle over the gun resulted in

Jennifer being shot accidentally. While the court will, of course, instruct the jury about the terms

within the Policy, whether Cameron accidentally shot Jennifer under the terms of the Policy is a

factual question for a jury to decide. It is not the court’s function “to weigh the evidence and

determine the truth of the matter but to determine whether there is a genuine issue for trial.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Accordingly, the denial of State

Farm’s summary judgment motion remains. For the same reasons, Cameron’s motion for

summary judgment is also denied.

       State Farm’s motion for judicial notice of order denying Cameron Ray’s petition for writ

of certiorari relating to his criminal conviction is also denied. State Farm argues that pursuant to

the doctrine of non-mutual collateral estoppel, the outcome of the criminal suit against Cameron

Ray is binding here. State Farm cites Atkinson, Haskins, Nellis, Holeman, Phipps, Brittingham

& Gladd v. Vector Sec., Inc. 255 P.3d 453 (Ct. Civ. App. Okla. 2011) in support of its argument.




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       Notably, that case did not involve questions regarding the terms of an insurance policy.

In any event, the doctrine does not apply here.

       Employment of this form of collateral estoppel requires: (1) the precluded issue be the
       same as that involved in the earlier action; (2) the issue was actually litigated; (3) it was
       determined by a final and valid decision; and (4) the determination was essential and
       necessary to the earlier result.

Id. at 547. In Atkinson, the defendants “admitted that the issues involved in both cases were

identical in all material respects.” Id. The same is not true here. State Farm argues that the

criminal action included instructions regarding “willful” and “malicious” acts, but in closing,

counsel argued to the jury that to convict, they did not have to find that Cameron intended to

injure Jennifer. Docket No. 133-2 at 22. In fact, the issues involved in the criminal action were

not identical to the issues in this action. Whether Cameron could be held criminally liable for his

actions is not the same issue as whether the shooting of Jennifer meets the definition of an

“accident” or an “occurrence” under the terms of the Policy.

       SUMMARY

       State Farm’s motion to reconsider [Docket No. 142] is GRANTED in part and DENIED

in part. The court strikes the language noted above from its March 27, 2019 Order, but because

questions of material fact remain, the denial of the summary judgment motion stands.

Cameron’s motion for summary judgment [Docket No. 133] is also DENIED. State Farm’s

motion for judicial notice [Docket No. 190] is DENIED. Defendants’ motions for extension of

time to respond to State Farm’s motions [Docket Nos. 153, 164, 191 and 193] are DENIED.

       IT IS SO ORDERED this 10th day of January, 2020.


                                              ______________________________________
                                              THE HONORABLE RONALD A. WHITE
                                              UNITED STATES DISTRICT JUDGE
                                              EASTERN DISTRICT OF OKLAHOMA

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